IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF FLORIDA
Orlando Division

Enrique Tarrio,

Zachary Rehl,

Ethan Nordean,

Joseph Biggs,

and,

Dominic Pezzola
Plaintiffs 5.

Case No.: 6 34-cv-998-WWWB-DCI

Vv.

United States of America,

FBI Special Agent Nicole Miller,
sued in her individual capacity,

and

John Doe Nos. I-X,
Unknown employees of the FBI and DOU,
sued in their individual capacities,

ee ee ee eee ee a sess 0 se

Defendants.

Unopposed Motion for Special Admission

COMES NOW Thomas F. Ranieri, Esquire (hereinafter “!”), and pursuant to M.D.
FLA. LocAL R. 2.01, moves for special admission to represent plaintiffs in this action.

| am not a member in good standing of The Florida Bar.

| am a member in good standing of a bar of a United States district court;

specifically, U.S. District Courts for the Eastern and Western Districts of Virginia.
| have not abused the privilege of special admission by maintaining a regular law
practice in Florida. | have initially appeared in the last thirty-six months in these cases
in state or federal court in Florida:
e Tarrio et al. v. United States of America, et al., 6:25-cv-998-WWB-DCI.
| will comply with the federal rules and this Court's local rules.
1 am familiar with 28 U.S.C. § 1927, which provides:
Any attorney or other person admitted to conduct cases in
any court of the United States or any Territory thereof who
so multiplies the proceedings in any case unreasonably and
vexatiously may be required by the court to satisfy
personally the excess costs, expenses, and attorneys’ fees

reasonably incurred because of such conduct.

| have paid the fee for special admission or shall pay the fee upon special
admission.

| shall register with the Court's CM/ECF system.

| affirm the oath, which states:

| will support the Constitution of the United States, bear true faith and
allegiance to the government of the United States, maintain the respect
due to the courts of justice and all judicial officers, well and faithfully

discharge my duties as an attorney and officer of this Court, and conduct
myself uprightly and according to the law and the recognized standards of

ethics of the legal profession.

Pursuant to M.D. FLA. R. 2.02(a), | am the lead counsel in the above-captioned
matter, and will register as such with CM/ECF as soon as admitted.

As explained below, | was unable to communicate with opposing counsel
regarding my motion for special admission. As such, | cannot certify this Motion under

Local Rule 3.1(g)(1)-(2), and must instead rely on Local Rule 3.1(g)(3).

REMAINDER OF PAGE INTENTIONALLY LEFT BLANK
Thomas F. Ranieri, Esq.
Va. Bar No. 93150
RANIERI & ASSOCIATES, PLC
33 Cedarside Court
Front Royal, Virginia 22630
Tel: 540-551-2330
Email: ranieri@tra-lawfirm.com
Lead Counsel for Plaintiff
Local Rule 3.01(g) Certification
| have attempted to confer with the opposing party and represent the opposing
parties have not responded to my attempts to get their opposition or consent to my
special admission.
| attempted to contact the United States Attorney's office for the Middle District of
Florida. They communicated with me, but told me that they do not assign counsel to a
case until it has been properly served upon them. | asked if they would waive service,
and they refused. Ex. 1— US Atty Email. Consequently, | am unable to get the United
States’ consent or opposition to my special admission, and will not be able to get it
without serving a summons on the United States. | cannot file or serve a summons until
| have been specially admitted.
The attorneys for the Federal Bureau of Investigation reached out and indicated
that they would accept service on behalf of Special Agent Nichole Miller. We worked
together on that, and Special Agent Miller has been served, but | have not been

provided with an executed Form AO 399 Waiver of Service by the FBI. Ex. 2 — Miller

Waiver of Service Email. | asked whether there was anyone | could discuss my Motion
for Special Appearance with, but | was informed the FBI Counsel’s Office's involvement
was limited to acceptance of service of process. Ex. 3 — FBI Miller Email.
These communications happened throughout between June 13 — 17, 2025.
Pursuant to Local Rule 3.1(g)(3), | will again attempt to communicate with the
parties throughout June 25 — June 30, 2025, three business days, in an attempt to get
the parties opposition or consent to this Motion. Thereafter, | will file a supplement to

the Motion regarding whether the parties “have resolved all or part of the Motion” as

Thomas F. Rdnieri, Esq.

required by Local Rules.

CERTIFICATE OF SERVICE

| hereby certify that, on this 25th day of June 2025, the foregoing was filed in
person with the Clerk of Court for the U.S. States’ Court for the Middle District of

Florida.

| further certify that | caused a copy of the foregoing Motion to be sent by certified
mail to the following addresses:

Civil Process Clerk

OFFICE OF THE UNITED STATES ATTORNEY FOR
THE MIDDLE DISTRICT OF FLORIDA

400 North Tampa Street, Suite 3200
Tampa, FL 33602

Attorney General Pamela Bondi
U.S. DEPARTMENT OF JUSTICE

950 Pennsylvania Avenue, NW
Washington, D.C. 20530

Director Kash Patel

FEDERAL BUREAU OF INVESTIGATION
935 Pennsylvania Avenue, NW
Washington, D.C. 20535

Thornas F. Ranieri, Esq.
hy Gma | Thomas Ranieri <ranieri@tra-lawfirm.com>

6:25-cv-00998-WWB-DCI Tarrio et al v. United States

Carper, Krystal (USAFLM) <Krystal.Carper@usdoj.gov> Tue, Jun 17, 2025 at 4:00 PM
To: Thomas Ranieri <ranieri@tra-lawfirm.com>

Thomas,
We don’t waive proper service. Our office will need to be served with the Complaint and Summons.

vir

Krystal Carper

Legal Assistant

United States Attorney's Office
Middle District of Florida

400 W. Washington Street
Orlando, FL 32801

Email: Krystal.Carper@usdoj.gov
Phone: 407-648-7500

[Quoted text hidden]
Rey G Mal | Thomas Ranieri <ranieri@tra-lawfirm.com>

RE: [EXTERNAL EMAIL] - Tarrio et al. v. U.S. et al., 6:25-cv-998 Service

2 messages

Mon, Jun 16, 2025 at 2:32 PM

FBILSERVICE.CIVIL@fbi.gov <FBI.LSERVICE.CIVIL@fbi.gov>
To: Thomas Ranieri <ranieri@tra-lawfirm.com>

Cc: Administration Ranieri <admin@tra-lawfirm.com>, Nikki Sachdecha <sachdecha@tra-lawfirm.com>, Augustus Invictus
<invictus@tra-lawfirm.com>

Service of the complaint is received and accepted.

This email address is only for accepting service of process. Any request for a position on any other litigation
issue must be made to opposing counsel when assigned.

Thank you.

From: Thomas Ranieri <ranieri@tra-lawfirm.com>

Sent: Friday, June 13, 2025 2:52 PM

To: FBI.SERVICE.CIVIL <FBILSERVICE.CIVIL@fbi.gov>

Cc: Administration Ranieri <admin@tra-lawfirm.com>; Nikki Sachdecha <sachdecha@tra-lawfirm.com>; Augustus
Invictus <invictus@tra-lawfirm.com>

Subject: [EXTERNAL EMAIL] - Tarrio et al. v. U.S. et al., 6:25-cv-998 Service

To Whom It May Concern,

Please find attached the complaint and exhibits as well as the form for Waiver of Service and the Summons | was
planning on using. Please let me know if you there is anything further you need.

In your letter, you indicated that your office's involvement in this letter is limited. | need to ask whether your office is able
to to tell me whether Special Agent Miller intends to oppose my Rule M/D. Fla. 2.02(a) motion for special admission in the
Middle District of Fioti2h-ave) 1928-WAeIBeD @uzigbuld be able to direct the question to Agent Miller or whomever will be

representing her?

| ask because M.D. Fla. Local R. 3.01 requires me to try and get the opposing party's consent to the Motion, or, if neither
the the party or her attorney are available, | am required to attempt to communicate with them for three days before filing.
This email, in addition to a providing the complaint and Waiver of Service, is an attempt to fulfill my obligation to get an
opposing party's consent for a Motion for Special Admission to MD Fla for this case.
Thank you and have a nice day. Please communicate any questions or concerns you may have to me at any time.

Very truly yours,

Thomas

Thomas F. Ranieri, Esq.

Principal, Ranieri & Associates, PLC

Office: (540) 551-2330

Thomas Ranieri <ranieri@tra-lawfirm.com> Wed, Jun 25, 2025 at 11:35 AM
To: "FBILSERVICE.CIVIL@fbi.gov" <FBISERVICE.CIVIL@fbi.gov>

To Whom It May Concern,

Thank you for accepting service.

Under the Local Rules for the Middle District of Florida, | have to file service of process paperwork with the court with 21
days of service. Would you please return a completed and signed Form AO 399 which | can file with the Court so that |

can inform it Special Agent Miller has been properly served? ! am not certain whether the Court will agree SA Miller has
been properly served without that Form.

Please advise.

Thank you and have a nice day.

Very truly yours,

Thomas

Thomas F. Ranieri, Esq.

Principal, Ranieri & Associates, PLC

Office: (540) 551-2330

(Quoted text hidden]
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Mon, Jun 16, 2025 at 2:32 PM
To: Thomas Ranieri <ranieri@tra-lawfirm.com>
Cc: Administration Ranieri <admin@tra-lawfirm.com>, Nikki Sachdecha <sachdecha@tra-lawfirm.com>, Augustus Invictus
<invictus@tra-lawfirm.com>

Service of the complaint is received and accepted.

This email address is only for accepting service of process. Any request for a position on any other litigation
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Invictus <invictus@tra-lawfirm.com>

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Very truly yours,

Thomas

Thomas F. Ranieri, Esq.

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